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  EXHIBIT B
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                           Government of Puerto Rico


              CERTIFICATE OF AMENDMENT
I, MARÍA A. MARCANO DE LEÓN, Under Secretary of State of the Government
of Puerto Rico,
CERTIFY: That on November 02, 2019, at 04:44 PM, "TRANSPACIFIC IP
GROUP LLC", registry number 424234, performed the following transaction:

                         Name Change
Previous                                Actual
TRANSPACIFIC IP GROUP LLC               BITCOIN MANIPULATION ABATEMENT
                                        LLC




                             IN WITNESS WHEREOF, the undersigned by virtue
                             of the authority vested by law, hereby issues this
                             certificate and affixes the Great Seal of the
                             Government of Puerto Rico, in the City of San Juan,
                             Puerto Rico, today, November 2, 2019.




                             MARÍA A. MARCANO DE LEÓN
                             Under Secretary of State
